       Case 1:17-cv-05205-NRB            Document 33        Filed 10/13/17      Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT INSTITUTE
 AT COLUMBIA UNIVERSITY, et al.,

                Plaintiffs,
                                                         No. 17-cv-5205 (NRB)
        v.

 DONALD J. TRUMP, President of the United
 States, et al.,

                Defendants.



                                      NOTICE OF FILING

       On September 28, 2017, Plaintiffs and Defendants in the above-captioned matter jointly

filed a Stipulation covering agreed facts for purposes of this litigation. Stipulation, ECF No. 30-

1. The Stipulation incorporated by reference several exhibits to be filed with Defendants’ opening

brief. See id. ¶¶ 33-34, 63. The parties hereby jointly file the attached exhibits to the Stipulation,

as follows:

       Exhibit A. Exhibit A contains @realDonaldTrump tweets and replies. This exhibit was

collected by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with

the exception of any deleted tweets, between January 20, 2017 and September 24, 2017.

       Exhibit B. Exhibit B contains the @realDonaldTrump profile image and header images.

This exhibit was collected by Plaintiffs and represents all such images that Plaintiffs are aware of

having been used on the @realDonaldTrump account between January 20, 2017 and September

24, 2017. The header images are listed underneath the approximate date they were first used.
       Case 1:17-cv-05205-NRB            Document 33        Filed 10/13/17      Page 2 of 4




       Exhibit C. Exhibit C contains @rpbp tweets and replies. This exhibit was collected by

Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with the exception

of any deleted tweets, from June 5 to 11, 2017, and from August 12 to 18, 2017.

       Exhibit D. Exhibit D contains @familyunequal tweets and replies. This exhibit was

collected by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with

the exception of any deleted tweets, between June 5 to 11, 2017, and September 13 to 19, 2017.

       Exhibit E. Exhibit E contains @AynRandPaulRyan tweets and replies. This exhibit was

collected by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with

the exception of any deleted tweets, between May 27 to June 2, 2017, and August 18 to 24, 2017.

       Exhibit F. Exhibit F contains @eugenegu tweets and replies. This exhibit was collected

by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with the

exception of any deleted tweets, between June 17 to 23, 2017, and September 18 to 24, 2017.

       Exhibit G. Exhibit G contains @BrandonTXNeely tweets and replies. This exhibit was

collected by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with

the exception of any deleted tweets, between June 11 to 17, 2017, and June 26 to July 2, 2017.

       Exhibit H. Exhibit H contains @joepabike tweets and replies. This exhibit was collected

by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with the

exception of any deleted tweets, between June 2 to 8, 2017, and June 17 to 23, 2017.

       Exhibit I. Exhibit I contains @Pappiness tweets and replies. This exhibit was collected

by Plaintiffs and represents all such tweets and replies that Plaintiffs are aware of, with the

exception of any deleted tweets, between June 4 to 10, 2017, and July 22 to 28, 2017.

       With respect to Exhibits C through I, Plaintiffs have collected all tweets and replies that

they are aware of from the earliest date in each exhibit, respectively, through September 24, 2017.



                                                  2
        Case 1:17-cv-05205-NRB            Document 33        Filed 10/13/17      Page 3 of 4




The parties jointly agreed to file two representative weeks of tweets and replies as exhibits to the

Stipulation, but the full collections are available for filing should the Court so require.

        Defendants have no reason to doubt the accuracy of the tweets, replies, and header and

profile images collected by Plaintiffs for the purposes of this exhibit, and jointly stipulate to these

exhibits for the purposes of this litigation.

        The parties have agreed that they may include as separate exhibits to their briefs images of

tweets or replies from the parties’ Twitter accounts.



Date: October 13, 2017                          Respectfully submitted,

                                                /s/ Jameel Jaffer
Jessica Ring Amunson (pro hac vice)             Jameel Jaffer (JJ-4653)
Tassity S. Johnson (pro hac vice)               Katherine Fallow (KF-2535)
1099 New York Avenue, NW, Suite 900             Alex Abdo (AA-0527)
Washington, DC 20001                            Knight First Amendment Institute
                                                       at Columbia University
                                                314 Low Library
                                                535 West 116th Street
                                                New York, NY 10027
                                                (212) 854-9600
                                                Jameel.Jaffer@knightcolumbia.org

                                                Counsel for Plaintiffs


                                                CHAD A. READLER
                                                Acting Assistant Attorney General

                                                JOON H. KIM
                                                Acting United States Attorney

                                                BRETT A. SHUMATE
                                                Deputy Assistant Attorney General

                                                ERIC R. WOMACK
                                                Assistant Branch Director




                                                   3
Case 1:17-cv-05205-NRB   Document 33     Filed 10/13/17    Page 4 of 4




                             /s/ Michael H. Baer
                             MICHAEL H. BAER
                             DANIEL HALAINEN
                             Trial Attorneys
                             U.S. Department of Justice,
                             Civil Division, Federal Programs Branch
                             20 Massachusetts Avenue, NW
                             Washington, DC 20530
                             Telephone:     (202) 305-8573
                             Facsimile:     (202) 616-8460
                             E-mail: Michael.H.Baer@usdoj.gov

                             Counsel for Defendants




                               4
